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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                               CASE NO. 4:02-CR-45-SPM-1

THOMAS C. JONES, III,

           Defendant.
________________________________/


       ORDER DENYING MOTION TO TERMINATE SUPERVISED RELEASE

         THIS CAUSE comes before the Court upon Defendant’s Motion for Early

Termination of Supervised Release (doc. 395). As grounds, Defendant states

that he has maintained work, been involved in his children’s lives, and not

violated his probation.

         If “warranted by the conduct of the defendant released and the interest of

justice” and after an analysis of the factors considered in 18 United States Code

Section 3553(a), this Court may order early termination of supervised release. 18

U.S.C. § 3583(e). United States v. Paterno, 99-cr-037, 2002 U.S. Dist. LEXIS

9334, at *2 (D. N.J. 2002) (citing United States v. Hardesty, 2002 U.S. Dist.

LEXIS 7013, No 95-20031, at *1 (D. Kan. 2002)); United States v. Medina, 17 F.

Supp. 2d 245, 247 (S.D.N.Y. 1998); United States v. Darshelabl, 2006 U.S. Dist.
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LEXIS 21631 (W.D. Tenn. 2006). However, “early termination is not warranted

as a matter of course; on the contrary, it is only occasionally justified due to

changed circumstances of a defendant, such as exceptionally good behavior.”

United States v. Sheckley, 1997 U.S. App. LEXIS 32024, *5 (2d Cir. 1997)

(internal quotations omitted).

       While the Defendant’s good conduct while on supervised release is

laudable, Defendant has not cited facts that demonstrate extraordinary

circumstances sufficient to warrant early termination of his supervised release.

”Full compliance, after all, is merely what is expected of all people serving terms

of supervised release.” Karacsonyi v. United States, 1998 U.S. App. LEXIS

15107 (2d Cir. 1998). The Defendant has yet to complete half of the five year

term of supervised release originally imposed. Additionally, the Defendant has

already received the benefit of a 5K1 motion and Rule 35 motion filed by the

Government on his behalf, resulting in a reduced sentence of imprisonment.

       Accordingly, having considered all of the factors in 18 United States Code

Section 3553(a), it is hereby

       ORDERED AND ADJUDGED that the Motion for Early Termination of

Supervised Release (doc. 395) is denied.

       DONE AND ORDERED this first day of June, 2011.


                                                  s/ Stephan P. Mickle
                                                  Stephan P. Mickle
                                                  Chief United States District Judge
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